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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                             :
 CORNEL WEST AND MELINA                      :   No. __________________
 ABDULLAH, GERALDINE                         :
 TUNSTALLE, KATHERINE HOPKINS-               :   (filed electronically)
 BOT, AND CHARLES HIER,                      :
                                             :
                           Plaintiffs,       :
                                             :
               v.                            :
                                             :
 PENNSYLVANIA DEPARTMENT OF                  :
 STATE AND AL SCHMIDT, IN HIS                :
 CAPACITY AS SECRETARY OF THE                :
 COMMONWEALTH,                               :
                                             :
                           Defendants.


VERIFIED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

      Plaintiffs Cornel West and Melina Abdullah (Candidates), Geraldine

Tunstalle, Katherine Hopkins-Bot, and Charles Hier (Voters) (together, Plaintiffs),

by and through their undersigned counsel, bring this Complaint against Defendants,

the Pennsylvania Department of State (Department) and Al Schmidt, in his capacity

as Secretary of the Commonwealth (Secretary), and in support thereof aver as follows:

I.    INTRODUCTION

      1.      The primary values protected by the First Amendment to the United

States Constitution—“a profound national commitment to the principle that debate

on public issues should be uninhibited, robust, and wide-open,” —are “served when

election campaigns are not monopolized by existing political parties.” Anderson v.
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Celebrezze, 460 U.S. 780, 794 (1983) (quoting New York Times Co. v. Sullivan, 376

U.S. 254, 270 (1964)).

      2.      Accordingly, minor political parties, known in Pennsylvania as political

bodies, are crucial to advancing diversity of thought and ensuring competition in the

marketplace of ideas. See id.

      3.      When states impose severe burdens on political bodies to restrict access

to the ballot without any state interest to support that burden, a constitutional

violation occurs under the First and Fourteenth Amendment to the United States

Constitution.

      4.      In the context of presidential elections, such burdens “implicate a

uniquely important national interest,” because state-imposed restrictions have “an

impact beyond [the state’s] own borders.” Id. at 794–95.

      5.      This case presents exactly that concern because Defendants impose an

interpretation of the Pennsylvania Election Code (Election Code) that unfairly

burdens and discriminates against political bodies, their candidates, and supporters,

without any state interest in doing so.

      6.      Candidates West and Abdullah are current Presidential and Vice-

Presidential candidates of the Justice for All political body who seek access to the

ballot in Pennsylvania. Voters signed Candidates’ Nomination Papers (the

West/Abullah Nomination Papers) to advance that goal.

      7.      Candidates timely submitted the West/Abdullah Nomination Papers.

Still, Defendants refused to accept them, citing their interpretation that Section 951



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of the Election Code, 25 P.S. § 2911, requires each one of Candidates’ presidential

electors to submit candidate affidavits.

        8.      Defendants’ interpretation of Section 951 of the Election Code, 25 P.S. §

2911, discriminates against Candidates, Voters, and political bodies as a whole,

treating them differently from the two major political parties.

        9.      Because Defendants’ interpretation of 25 P.S. § 2911 does not advance

any state interest, as evidenced by the lack of statutory support for this

interpretation, it unconstitutionally infringes on Plaintiffs’ First and Fourteenth

Amendment rights.

        10.     Accordingly,   Plaintiffs   ask   this   Court   to   declare   Defendants’

interpretation of 25 P.S. § 2911 unconstitutional under the First and Fourteenth

Amendments to the United States Constitution and preliminarily and permanently

enjoin Defendants’ from relying on and enforcing that interpretation.

II.     JURISDICTION AND VENUE

        11.     Because this action alleges a violation of the United States Constitution,

it raises a federal question. So, under 28 U.S.C. § 1331, this Court has jurisdiction

over this action.

        12.     Further, declaratory relief is proper pursuant to 28 U.S.C. §§ 2201 &

2202.

        13.     Venue is proper in the Western District of Pennsylvania under 28 U.S.C.

§ 1391(b)(2) because a substantial portion of the events or omissions giving rise to the

present claim occurred in the district, as Voters are all registered voters who signed



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the West/Abullah Nomination Papers. Two the Voters signed the West/Abdullah

Nomination Papers in this district.

III.   PARTIES

       14.     Plaintiff Cornel West is a United States citizen and resident of Orange

County, California. West is Justice for All’s candidate for President of the United

States.

       15.     Plaintiff Melina Abdullah is a United States citizen and a resident of

Los Angeles County, California. Abdullah is Justice for All’s candidate for Vice-

President of the United States.

       16.     Plaintiff Geraldine Tunstalle is a registered Pennsylvania voter who

signed the West/Abullah Nomination Papers in the Western District of Pennsylvania

and intends to vote in the November 2024 General Election.

       17.      Plaintiff Katherine Hopkins-Bot is a registered Pennsylvania voter who

signed the West/Abullah Nomination Papers and intends to vote in the November

2024 General Election.

       18.     Plaintiff Charles Hier, is a registered Pennsylvania voter who signed the

West/Abullah Nomination Papers in the Western District of Pennsylvania and

intends to vote in the November 2024 General Election.

       19.     Voters intend to vote for West and Abdullah in the 2024 General

Election.




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      20.     Defendant Department is a Pennsylvania Executive Branch Agency

under the leadership of the Secretary of the Commonwealth, see 71 P.S. § 273, vested

with only such powers as are granted to it by statute.

      21.     Defendant Secretary is the Secretary of the Commonwealth who has

certain enumerated responsibilities under the Election Code, including, inter alia,

the power and duty “[t]o certify to county boards of elections for primaries and

elections the names of the candidates for President and Vice-President of the United

States,” 25 P.S. § 2621(c), and “[t]o receive and determine, as hereinafter provided,

the sufficiency of nomination petitions, certificates and papers of candidates for

President of the United States,” id. at § 2621(d).

IV.   FACTUAL ALLEGATIONS

      A.      Nomination of candidates for President and Vice-President of
              the United States under the Pennsylvania Election Code.

      22.     Generally, the Election Code provides for two avenues through which

candidates for President and Vice-President of the United States may have their

names printed on the general election ballot: (1) nomination by major political parties

(25 P.S. §§ 2861-2883), or (2) nomination by political bodies (including “minor political

parties”) (25 P.S. §§ 2911-2914).

      23.     To fully understand the constitutional violations caused by this regime,

a brief discussion of both methods is necessary.

      24.     Under the Election Code, any party whose share of registered voters

statewide is equal to or greater than fifteen percent and who had at least one




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candidate poll above a certain minimum threshold is deemed a “political party.” 25

P.S. §§ 2831(a),1 2872.2.

        25.     For decades, the Republican and Democratic parties have been the only

parties that have met the criteria to enjoy “political party” status.

        26.     Each political party is entitled to choose its nominee for President and

Vice-President of the United States at the party’s national convention.

        27.     Thereafter, the presidential candidate of each political party chooses a

slate of presidential electors. See 25 P.S. § 2878.

        28.     Although the Election Code provides that a party’s presidential electors

must be chosen within thirty days, failure to do so is in no way fatal to the candidacy

of a political party’s presidential candidate, provided that the designation is made “as

soon as may be possible after the expiration of thirty days.” Id.

        29.     Notably, this provision does not require presidential electors to submit

affidavits or pay any fees; rather, all that is required is the presidential elector’s name




        1 Although Section 801 defines a “political party,” as “[a]ny party or political body, one of

whose candidates at the general election next preceding the primary polled in each of at least ten
counties of the State not less than two per centum of the largest entire vote cast in each of said
counties for any elected candidate, and polled a total vote in the State equal to at least two per
centum of the largest entire vote cast in the State for any elected candidate, is hereby declared to be
a political party within the State[.]” Id. at § 2831(a). But under Section 912.2, any “political party as
defined in section 801(a) or (b) whose State-wide registration is less than fifteen per centum of the
combined State-wide registration for all State-wide political parties as of the close of the registration
period immediately preceding the most recent November election[,]” is defined as a “minor political
party.” Id. at § 2872.2(a). Currently, the Libertarian party is the only minor political party in
Pennsylvania. However, because the ballot-access process for political bodies and minor political
parties is identical in all respects relevant here, the term “political body,” as used here, includes
“minor political parties.” See id. (“Notwithstanding any other provision in this act to the contrary,
minor political parties shall nominate all of their candidates for the offices to be filled at the ensuing
November election pursuant to section 9031 in accordance with the requirements of section 951,
other than subsection (e)(6) and (7) thereof,2 and section 954,3 and shall obtain the required
signatures during the same time frame available to political bodies.”).

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and address. See id. (“The names of such nominees, with their residences and

postoffice addresses, shall be certified immediately to the Secretary of the

Commonwealth by the nominee for the office of President or Vice-President, as the

case may be, making the nominations.”).

        30.    By contrast, a political party whose total share of statewide support is

below the aforementioned threshold, or a political body, which is defined as an “an

independent body of electors,” 25 P.S. § 2602, nominates its candidates for the general

election—including       candidates      for       President   and   Vice-President—by         filing

nomination papers pursuant to certain statutory requirements. See 25 P.S. §§ 2911-

2914.

        31.    The “nomination of candidates for any public office may also be made by

nomination papers signed by qualified electors of the State, or of the electoral district

for which the nomination is made, and filed in the manner herein provided.” Id. at

§ 2911(a).

        32.    Nomination papers of presidential candidates must be signed by at least

five thousand qualified electors, see id. at § 2911(b),2 and be accompanied by “an




2 Although Section 951(b) imposes a substantially higher signature requirement, see 25 P.S.

§ 2911(b), in Constitution Party of Pa. v. Cortés, No. 12-2726, Doc. No. 115 (E.D. Pa. Feb. 1, 2018),
the United States District Court for the Eastern District of Pennsylvania found the requirement
unconstitutional and replaced it with a 5,000-signature minimum for presidential candidates. By its
terms, the decision in Constitution Party of Pa. only applies to the three political bodies and minor
political parties who lodged the complaint. However, the Secretary has recognized that the Court’s
rationale would likely apply with equal force to all bodies and parties that are required to nominate
their candidates by nomination papers and, thus, has announced that the Department would accept
nomination papers that comply with the minimum signature requirements interposed by
Constitution Party of Pa.

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affidavit of each candidate nominated therein[,]” with certain attestations, see id. at

§ 2911(e) (emphasis added).

       33.     In terms of eligibility, “[a]ny person who is a registered and enrolled

member of a party during any period of time beginning with thirty (30) days before

the primary and extending through the general . . . election of that same year shall

be ineligible to be the candidate of a political body” in that year’s general election. Id.

at § 2911.1.

       34.     Furthermore, “each candidate nominated by a nomination paper” must

submit “[t]he same filing . . . as required in section 913 for the filing of nomination

petitions by candidates for nomination to the same office.” Id. at § 2914.

       B.      The role of presidential electors

       35.     Presidential electors fulfill a role under the Election Code that is distinct

from candidates for office.

       36.     Once designated, individual presidential electors for Presidential and

Vice-Presidential candidates—of both political parties and political bodies—remain

largely unknown to the general public and have virtually no involvement in the

political process until several weeks after the general election.

       37.     Presidential electors are note listed on the ballot or in election materials

provided to voters by election officials.

       38.     For example, a sample 2020 election ballot for Beaver County, attached

as Exhibit A, lists only candidates for President and Vice-President without listing




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presidential electors. And it instructs voters to “[v]ote for the candidates of one party

for President and Vice-President or insert the names of candidates.” Id.

      39.    And none of the Election Code’s various public notice provisions require

disclosure of the names of presidential electors.

      40.    Similarly, as a practical matter, it is exceedingly difficult for voters to

ascertain the identities of the presidential electors.

      41.    To that end, the names of presidential electors do not appear on the

Department’s “Candidate Database,” its “Unofficial List of Candidates,” or any other

portion of the Department’s website.

      42.    Indeed, upon information and belief, the Department does not publicly

disclose—except to specific individuals who requested such information—the identity

of individual presidential electors prior to the election.

      43.    The Election Code details the role of presidential electors. Once the

results of the presidential election have been determined, the individuals designated

to act as electors by the winning presidential candidate “assemble at the seat of

government of this Commonwealth [i.e., Harrisburg], at 12 o’clock noon of the day,

which is, or may be, directed by the Congress of the United States, and shall then and

there perform the duties enjoined upon them by the Constitution and laws of the

United States.” 25 P.S. § 3192.

      44.    The Election Code further provides for the compensation of presidential

electors and the procedure for filling any vacancies that occur. See id.; 25 P.S. § 3193.




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       45.     With no mention of presidential electors in any other statute, the above

provisions provide the extent of the powers and duties of presidential electors.

       C.      Defendants’ application of the Election Code to political bodies

       46.     The Department interprets these Election Code provisions for political

bodies to gain ballot access.

       47.      That interpretation is provided on the Department’s website under a

page titled “Third Party Nomination Paperwork.”3

       48.     Inexplicably, the Department contends that every individual designated

as a presidential elector by a political body is a “candidate.”

       49.     Among other things, according to the Department, presidential electors

must submit the candidate affidavit required under 25 P.S. § 2911. Specifically, the

frequently asked questions portion of the Department’s website provides, in relevant

part, the following:

               Do presidential electors need to complete the
               Candidate’s affidavit?

               Yes, minor political party and political body candidates
               for the office of presidential elector must file candidates’
               affidavits by the August 1 deadline. 25 P.S. §§ 2911(e),
               2913(a).

Id.

       50.     Upon information and belief, this is the first time Defendants have

interpreted and enforced 25 P.S. § 2911 in this manner.




3 See https://www.pa.gov/en/agencies/dos/programs/voting-and-elections/running-for-office/third-

party-nomination-paperwork.html#accordion-21c3b2a9ea-item-f2eb7b4ba2 (last visited Sept. 16,
2024).

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        51.   The Department has also taken the position that the disaffiliation

requirements set forth in 25 P.S. § 2911 apply to presidential electors:

              Do presidential electors submitting nomination
              papers need to have the same party affiliation as
              the candidate?

              No, but any person who is a registered and enrolled
              member of the Democratic, Republican, or Libertarian
              party during any period of time beginning thirty (30) days
              before the primary and extending through the general or
              municipal election of that same year is ineligible to be a
              candidate for presidential elector of a political body in a
              general or municipal election held in that same year. 25
              P.S. § 2911(e).

Id.

        52.   The Nomination Paper form created by the Department also requires

candidates for President and Vice-President to list all nineteen presidential electors

on each sheet.

        53.   Specifically, the Department’s website provides:

              A presidential candidate must nominate 19 individuals to
              serve as candidates for the office of presidential elector.

Id.

        D.    Candidates’ submission of the Nomination Papers and
              Defendants’ refusal to accept them.

        54.   The Department’s foregoing interpretation and its disparate effect on

Candidates and Voters became evident when nomination papers came due in August

2024.

        55.   On July 11, 2024, Candidates timely filed the West/Abdullah

Nomination Papers with Defendants.


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      56.    The West/Abullah Nomination Papers contained over 13,000 signatures,

including those of Voters.

      57.    In addition, Candidates paid the relevant filing fee, and attached their

respective candidate affidavits. See 25 P.S. § 2911(b)-(e); 25 P.S. § 2914.

      58.    On that day, Defendants issued to a campaign representative a notice

that the Department did not receive a valid candidate affidavit.

      59.    On August 1, Defendants rejected the West/Abdullah Nomination

Papers because they did not have candidate affidavits for all nineteen individual

presidential electors.

      60.    The next day, Defendants emailed the rejection notice to Candidates’

campaign.

      61.    Despite Candidates’ disagreement with Defendants’ interpretation of

the Election Code, Candidates, their presidential electors, and others attempted to

cure this alleged infirmity.

      62.    But Defendants steadfastly refused to accept the West/Abdullah

Nomination Papers based on their interpretation of the Election Code as requiring

every single presidential elector for a political body presidential candidate to submit

a candidate affidavit.

      63.    Certain presidential electors and substitute presidential electors for

Candidates filed a mandamus and declaratory relief action with the Commonwealth

Court under the Court’s original jurisdiction. These electors and substitute electors

sought a writ of mandamus compelling the Department and Secretary to accept the



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West/Abdullah Nomination Papers in accordance with their statutory obligations.

Alternatively, the electors and substitute electors sought a declaration that the

Department’s interpretation of 25 P.S. § 2911 was contrary to the Election Code, the

Pennsylvania Constitution, and the United States Constitution. See Williams v. Pa.

Dep’t of State, No. 394 MD 2024 (Pa. Cmwlth.).

      64.    The Commonwealth Court dismissed the action filed by Candidates’

presidential electors, primarily based on laches, and the Pennsylvania Supreme

Court affirmed by a per curiam order. See Williams v. Pa. Dep’t of State, 2024 WL

3912684 (Pa. Cmwlth., No. 394 M.D. 2024, filed Aug. 23, 2024), aff’d, 2024 WL

4195131 (Pa., No. 25 WAP 2024, filed Sept. 16, 2024).

      65.    Candidates sought leave to intervene while Williams was pending before

the Supreme Court, and that request for intervention was denied.

      66.    Candidates are not the only political body candidates for President and

Vice-President who have had their nomination papers rejected or challenged because

of Defendants’ interpretation of 25 P.S. § 2911. See Clymer v. Schmidt, 2024 WL

3912661 (Pa. Cmwlth., No. 376 M.D. 2024, filed Aug. 23, 2024), aff’d, 2024 WL

4181585 (Pa., No. 67 MAP 2024, filed Sept. 13, 2024); In re: Nomination Papers of

Claudia De la Cruz, No. 2024 WL 3982157 (Pa. Cmwlth., No. 379 M.D. 2024, filed

Aug. 20, 2024), aff’d, 2024 WL 4181581(Pa., No. 56 EAP 2024, filed Sept. 13, 2024).

      67.    Defendants’ interpretation of 25 P.S. § 2911 treats Candidates and

Voters differently than candidates of political parties and voters for political parties.




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        68.     Without advancing any state interest, Defendants’ interpretation

imposes a severe burden on Plaintiffs’ constitutional interests that they would not

face if they were not candidates of and voters for a political body rather than a

political party.

        69.     With these recent decisions form the Pennsylvania Supreme Court,

counties are finalizing ballots for the general election. Importantly, voters are not

able to cast mail ballots yet and ballots may not start being distributed until October.4

Currently, only 62 of 67 Pennsylvania counties have ballots available.5

        70.     The 2024 General Election is less than two months away. Candidates

and    Voters      will   suffer   immediate       and    irreparable      harm      if   Defendants’

unconstitutional interpretation of 25 P.S. § 2911, as explained below, is not enjoined.

                                     COUNT I
      42 U.S.C. § 1983 –Violation of First Amendment Right to Freedom of
                                   Association

        71.     Plaintiffs incorporate the foregoing paragraphs as if fully set forth

herein.

        72.     The First Amendment to the United States Constitution protects the

freedom of speech and association. U.S. Const. amend. I.

        73.     Plaintiffs have a fundamental right to political association protected by

the First Amendment to the United States Constitution, which includes the right of

individuals to associate for the advancement of political beliefs.


4 See https://apnews.com/article/pennsylvania-early-voting-september-16-mail-ballots-

edbcfb03d28a2bfdadd70ba6bbe28a3b (last visited Sept. 23, 2024).
5 See https://www.pa.gov/en/agencies/vote/voter-support/ballot-availability.html (last visited Sept. 23,

2024)

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      74.    Under the First and Fourteenth Amendments, this Court balances the

character and magnitude of the injury to the constitutional right against “the precise

interests put forward by the State as justifications for the burden imposed by its rule,

taking into consideration the extent to which those interests make it necessary to

burden the plaintiff[s’] rights.” Burdick v. Takushi, 504 U.S. 428, 434 (1992);

Anderson, 460 U.S. at 789. Where the burden on the right is severe, strict scrutiny

applies, meaning that it cannot pass constitutional muster unless it is narrowly

tailored to advance a compelling state interest. See Donald J. Trump for President,

Inc. v. Boockvar, 493 F. Supp. 3d 331, 384 (W.D. Pa. 2020).

      75.    Indeed, “[a] burden that falls unequally on new or small political parties

or on independent candidates impinges, by its very nature, on associational choices

protected by the First Amendment,” by discriminating against both candidates and

voters whose political preferences lie outside the existing political parties. Anderson,

460 U.S. at 794.

      76.    Further, restricting a political body’s access to the ballot infringes

citizens’ fundamental rights of association and speech protected by the First and

Fourteenth Amendments.” Green Party of Pa. v. Aichele, 89 F. Supp. 3d 723, 738 (E.D.

Pa. 2015).

      77.    Defendants’ interpretation of 25 P.S. § 2911 described above is intended

to and does restrict Candidates’ access to the ballot.




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      78.     Defendants’ interpretation of 25 P.S. § 2911 also unduly restricts Voters’

right to cast their votes effectively by impinging on their associational rights simply

because their political preferences fall outside the existing political parties.

      79.     Defendants cannot proffer any state interest, let alone a compelling

state interest for this distinction and, therefore, Defendants’ interpretation unduly

burdens Plaintiffs’ First Amendment rights.

      80.     Defendants’ interpretation of 25 P.S. § 2911 significantly encroaches on

Plaintiffs’ associational freedom. Accordingly, Plaintiffs are entitled to a judgment

declaring Defendants’ interpretation to be in violation of the First Amendment to the

United States Constitution.

                                     COUNT II
                  42 U.S.C. § 1983 – Equal Protection Violation

      81.     Plaintiffs incorporate the foregoing paragraphs as if fully set forth

herein.

      82.     The Fourteenth Amendment to the United States Constitution ensures

that no state shall deny to any person equal protection of the laws. U.S. Const.

amend. XIV.

      83.     Again, under the First and Fourteenth Amendments, this Court

balances the character and magnitude of the injury to the constitutional right

against “the precise interests put forward by the State as justifications for the

burden imposed by its rule, taking into consideration the extent to which those

interests make it necessary to burden the plaintiff[s’] rights.” Burdick, 504 U.S. at

434 (1992); Anderson, 460 U.S at 789. If it is a severe burden on the right, strict

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scrutiny applies and the rule must be narrowly tailored and advance a compelling

interest. See Donald J. Trump for President, Inc, 493 F. Supp. 3d at 384.

      84.    Defendants’ interpretation of 25 P.S. § 2911 unequally and unfairly

discriminates against political body voters and candidates without a compelling

state interest.

      85.    Political parties are not required to submit a slate of presidential

electors until thirty days after the parties have nominated their candidate for

president. 25 P.S. § 2878. And they are not required to submit candidate affidavits

for every single presidential elector. See id.

      86.    In fact, a political party’s failure to submit the names of presidential

electors within the allotted time does not affect that party candidate’s right to

appear on the ballot. See id.

      87.    Presidential electors may move from the jurisdiction or change their

intent to serve as presidential electors before or after Nomination Papers are due.

But the will of the 13,000+ registered voters who signed the West/Abdullah

Nomination Papers should not be thwarted because the presidential electors cannot

timely complete a discriminatory candidate-affidavit requirement.

      88.    Defendants’ interpretation of 25 P.S. § 2911, that every one of

Candidates’ presidential electors must complete a candidate affidavit, is a

substantial burden not supported by any state interest (or by the statute itself).

      89.    Presidential electors are not candidates for public office within the

Election Code or under any common sense understanding of the term. Voters do not



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vote for presidential electors individually, and presidential electors do not appear on

the ballot. See supra ¶¶ 35–45.

      90.    Instead, presidential electors fulfill a limited role as dictated by statute

to appear in Harrisburg at the appointed time and carry out their constitutional

duty. See supra ¶¶ 43-45; see also 25 P.S. § 3192.

      91.    There is no basis for this discriminatory interpretation of the Election

Code and, even if there was, there is no discernable state interest to treat

Candidates and Voters from a political body differently than political parties.

      92.    As such, Defendants’ interpretation of 25 P.S. § 2911 violates

Plaintiffs’ right to equal protection of the laws, is arbitrary and capricious, serves no

compelling state interest, and is unconstitutional on its face and as applied.

      93.    Defendants’ interpretation of 25 P.S. § 2911 unfairly discriminates

against Candidates as candidates of political bodies and Voters as voters for

political body candidates. Plaintiffs are entitled to a judgment declaring Defendants’

interpretation 25 P.S. § 2911 to violate the Fourteenth Amendment to the United

States Constitution.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs respectfully request that this Court render a

judgment in their favor and grant the following relief:

      (1)    Declare that Defendants’ interpretation of 25 P.S. § 2911—that requires

             Candidates’ and other political body candidates’ presidential electors to

             submit candidate affidavits with Nomination Papers—violates the First



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      Amendment and the Fourteenth Amendment to the United States

      Constitution;

(2)   Enjoin Defendants preliminarily and permanently from enforcing their

      interpretation of 25 P.S. § 2911;

(3)   Compel Defendants to accept the West/Abdullah Nomination Papers

      and certify West and Abdullah’s names as candidates for President and

      Vice-President, respectively;

(4)   Award Plaintiffs the cost of prosecuting this action together with

      attorneys’ fees under 42 U.S.C. § 1988; and

(5)   Grant such further relief as this Court deems just and proper under the

      circumstances.




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                                  Respectfully submitted,

Dated: September 25, 2024         /s/ Matthew H. Haverstick
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                                  Shohin H. Vance (No. 323551)
                                  Samantha G. Zimmer (No. 325650)*
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                                  Eml: mhaverstick@kleinbard.com
                                  svance@kleinbard.com
                                  szimmer@kleinbard.com

                                  *Pro Hac Vice forthcoming

                                  /s/ Erik Roberts Anderson
                                  J. Andrew Crompton (No. 69227)*
                                  Erik Roberts Anderson (203007)
                                  Ryan T. Gonder (No. 321027)*
                                  McNEES WALLACE & NURICK LLC
                                  100 Pine Street
                                  Harrisburg, PA 17101
                                  Ph: (717) 232-8000
                                  Eml: dcrompton@mcneeslaw.com
                                  eanderson@mcneeslaw.com
                                  rgonder@mcneeslaw.com

                                  *Pro Hac Vice forthcoming

                                  Attorneys for Plaintiffs




                                 20
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                       Case 2:24-cv-01349-NR Document 1 Filed 09/25/24 Page 21 of 27




                                                       VERIFICATION

                     I, Cornel West, have authorized the filing of this Complaint. I am a citizen of

            the United States of America and a candidate for President of the Justice for All

            party. I have personal knowledge of the allegations set forth in the foregoing

            Verified Complaint and, if called on to testify, I would competently testify as to the

            matters stated herein.

                     I reviewed the allegations made in the Verified Complaint and the allegations

            are true and correct to the best of my knowledge, information, and belief. I declare

            under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct. 28 U.S. § 1746.



                      9/17/2024
            Dated: ____________                                       ___________________________
                                                                      Cornel West
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                       Case 2:24-cv-01349-NR Document 1 Filed 09/25/24 Page 22 of 27




                                                       VERIFICATION

                     I, Melina Abdullah, have authorized the filing of this Complaint. I am a

            citizen of the United States of America and a candidate for Vice-President of the

            Justice for All party. I have personal knowledge of the allegations set forth in the

            foregoing Verified Complaint and, if called on to testify, I would competently testify

            as to the matters stated herein.

                     I reviewed the allegations made in the Verified Complaint and the allegations

            are true and correct to the best of my knowledge, information, and belief. I declare

            under penalty of perjury under the laws of the United States of America that the

            foregoing is true and correct. 28 U.S. § 1746.



                      9/17/2024
            Dated: ____________                                       ___________________________
                                                                      Melina Abdullah
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                                       VERIFICATION



        I, Katherine Hopkins-Bot, have authorized the ﬁling of this Complaint. I am a citizen
of the United States of America and registered voter in Pennsylvania who signed the
Nomination Papers for Cornel West and Melina Abdullah. I have personal knowledge of the
allegations set forth in the foregoing Veriﬁed Complaint and, if called on to testify, I would
competently testify as to the matters stated herein.

       I reviewed the allegations made in the Veriﬁed Complaint and the allegations are
true and correct to the best of my knowledge, information, and belief. I declare under
penalty of perjury under the laws of the United States of America that the foregoing is true
and correct. 28 U.S. § 1746.




        9/23/2024
Dated: ____________                         Katherine M. Hopkins-Bot
                                           ________________________________
                                           Katherine Hopkins-Bot
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                                       Case 2:24-cv-01349-NR Document 1 Filed 09/25/24 Page 25 of 27




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        EXHIBIT A
                   Case 2:24-cv-01349-NR Document 1 Filed 09/25/24 Page 27 of 27



                           OFFICIAL GENERAL ELECTION BALLOT
   Commonwealth of Pennsylvania                       Beaver County         November 3, 2020

    INSTRUCTIONS TO VOTERS                        AUDITOR GENERAL
                                                     Vote for One
1. TO VOTE YOU MUST DARKEN
THE OVAL (   ) TO THE LEFT OF
YOUR CHOICE COMPLETELY.                        NINA AHMAD
                                                DEMOCRATIC
2. To cast a write-in vote for a person        TIMOTHY DEFOOR
whose name is not on the ballot, you            REPUBLICAN
must darken the oval (      ) to the left,     JENNIFER MOORE
and write or stamp the name in the              LIBERTARIAN
blank space provided for that
purpose.                                       OLIVIA FAISON
                                                GREEN PARTY
3. Use blue or black pen only.
4. If you make a mistake or want to
change your vote: return your ballot              STATE TREASURER
to an election official and get a new                Vote for One
ballot.
5. WARNING - If you receive an                 JOE TORSELLA
                                                DEMOCRATIC
absentee or mail-in ballot and return
your voted ballot by the deadline, you         STACY L. GARRITY
MAY NOT vote at your polling place              REPUBLICAN
on Election Day. If you are unable to          JOE SOLOSKI
return your voted ballot by the                 LIBERTARIAN
deadline, you may vote a regular
ballot at your polling place on                TIMOTHY RUNKLE
                                                GREEN PARTY
Election Day if you surrender the
ballot and the envelope containing
the voter's declaration to the Judge of
Elections to be voided. You will vote        REPRESENTATIVE IN CONGRESS
a provisional ballot if you do not                  17TH DISTRICT
surrender your balloting materials.                  Vote for One

                                               CONOR LAMB
    PRESIDENTIAL ELECTORS                       DEMOCRATIC
Vote for the candidates of one party for       SEAN PARNELL
President and Vice-President, or insert         REPUBLICAN
       the names of candidates


    JOSEPH R. BIDEN
    KAMALA D. HARRIS                            REPRESENTATVE IN THE
     DEMOCRATIC                                  GENERAL ASSEMBLY
                                                    16TH DISTRICT
                                                     Vote for One
    DONALD J. TRUMP
    MICHAEL R. PENCE
     REPUBLICAN                                ROBERT F. MATZIE
                                                DEMOCRATIC
    JO JORGENSEN                               RICO ELMORE
    JEREMY SPIKE COHEN                          REPUBLICAN
     LIBERTARIAN




       ATTORNEY GENERAL
           Vote for One

    JOSH SHAPIRO
     DEMOCRATIC
    HEATHER HEIDELBAUGH
     REPUBLICAN
    DANIEL WASSMER
     LIBERTARIAN
    RICHARD L. WEISS
     GREEN PARTY




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